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                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

 UNITED STATES OF AMERICA                            §
                                                     §
 v.                                                  §   CASE NO.: 3:21-CR-295-X
                                                     §
 DELFINO CASTELAN (1)                                §


              ORDER ACCEPTING REPORT AND RECOMMENDATION OF THE
         UNITED STATES MAGISTRATE JUDGE CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea of
Guilty, the Consent of the defendant, and the Report and Recommendation Concerning Plea of Guilty of
the United States Magistrate Judge, and no objections thereto having been filed within fourteen days of
service in accordance with 28 U.S.C. § 636(b)(1), the undersigned District Judge is of the opinion that the
Report and Recommendation of the Magistrate Judge concerning the Plea of Guilty is correct, and it is
hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty, and DELFINO
CASTELAN is hereby adjudged guilty of 21 U.S.C. § 841(a)(1) and (b)(1)(C), Possession with the Intent
to Distribute a Controlled Substance. Sentence will be imposed in accordance with the Court's scheduling
order.

       The defendant is ordered to remain in custody.

☐       The Court adopts the findings of the United States Magistrate Judge by clear and convincing
        evidence that the defendant is not likely to flee or pose a danger to any other person or the
        community if released and should therefore be released under § 3142(b) or (c).

☐       Upon motion, this matter shall be set for hearing before the United States Magistrate Judge who
        set the conditions of release for determination, by clear and convincing evidence, of whether the
        defendant is likely to flee or pose a danger to any other person or the community if released under
        § 3142(b) or (c).

☐       The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) pending determination
        of whether it has been clearly shown that there are exceptional circumstances under § 3145(c)
        why the defendant should not be detained under § 3143(a)(2), and whether it has been shown by
        clear and convincing evidence that the defendant is not likely to flee or pose a danger to any other
        person or the community if released under § 3142(b) or (c). This matter shall be referred to the
        United States Magistrate Judge who set the conditions of release.

        Signed this 26th day of October, 2021.


                                                                  ________________________________
                                                                  BRANTLEY STARR
                                                                  UNITED STATES DISTRICT JUDGE
